                                 Case 8-18-77317-las                       Doc 20       Filed 12/12/18               Entered 12/12/18 16:26:07




  Fill in   this information to identify your case:

  D€bi0r1                         Raymond Dickhoff
                                  First   Name                    Middle   Name                Last   Name
  Debtor 2
  (Spouse if,   filing)           First   Name                    Middle   Name                LastName

  United States Bankruptcy Court for the:                  EASTERN DISTRICT OF NEW YORK

 Case Humbéf                   8-18-77317-las
 (*fI<¤¤W¤>
                                                                                                                                                lj   Check if this   is   an
                                                                                                                                                     amended filing



Official            Form 106Dec
Declaration About an Individual Debtor s Schedules                                                                                                                             lm,
lf   two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C.§§152, 1341,1519,and 3571.




-                           Sign Below


        Did you pay or agree to pay                  someone who is NOT an        attorney to help you   fill   out bankruptcy forms?


        I         No

        lj        Yes.        Name of person                                                                                 Attach Bankruptcy Petition Preparerls Notice,
                                                                                                                             Declaration, and Signature (Official Form 119)



       Under penalty of perjury, I declare that              I   have read the summary and schedules filed with this declaration and
       that they are true and correct.
                                                 A
                    W

        X
                        `



                             M                                                                x
                R           mond Di                                                               Signature of Debtor2
                Signature of Deb o           1



                Date                                                                              Date




Official    Form 106Dec                                          Declaration About an Individual Debtor's Schedules

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